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                    1   COOLEY LLP                                   COOLEY LLP
                        MICHAEL G. RHODES (SBN 116127)               ROBBY L.R. SALDAÑA (DC No. 1034981)
                    2   (rhodesmg@cooley.com)                        (rsaldana@cooley.com)
                        WHITTY SOMVICHIAN (SBN 194463)               (Admitted pro hac vice)
                    3   (wsomvichian@cooley.com)                     KHARY J. ANDERSON (DC No. 1671197)
                        AARTI REDDY (SBN 274889)                     (kjanderson@cooley.com)
                    4   (areddy@cooley.com)                          (Admitted pro hac vice)
                        KYLE C. WONG (SBN 224021)                    1299 Pennsylvania Avenue, NW, Suite 700
                    5   (kwong@cooley.com)                           Washington, DC 20004-2400
                        REECE TREVOR (SBN 316685)                    Telephone:    +1 202 842 7800
                    6   (rtrevor@cooley.com)                         Facsimile:    +1 202 842 7899
                        ANUPAM DHILLON (SBN 324746)
                    7   (adhillon@cooley.com)
                        ELIZABETH SANCHEZ SANTIAGO
                    8   (333789)
                        (lsanchezsantiago@cooley.com)
                    9   3 Embarcadero Center, 20th Floor
                        San Francisco, CA 94111-4004
                   10   Telephone:     +1 415 693 2000
                        Facsimile:     +1 415 693 2222
                   11
                        Attorneys for Defendant
                   12   GOOGLE LLC

                   13                              UNITED STATES DISTRICT COURT

                   14                             NORTHERN DISTRICT OF CALIFORNIA

                   15                                      OAKLAND DIVISION

                   16

                   17   In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                        Litigation,
                   18                                                  GOOGLE LLC’S OBJECTIONS TO
                                                                       PLAINTIFFS’ EVIDENCE IN SUPPORT OF
                   19                                                  CLASS CERTIFICATION REPLY BRIEFING
                        This Document Relates to: all actions
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                    1          Pursuant to Civil Local Rule 7-3(d)(1), Google LLC (“Google”) lodges these objections to

                    2   evidence submitted with Plaintiffs’ Reply in support of their class certification motion (ECF No.

                    3   616-3, the “Reply”). Plaintiffs’ papers are replete with evidentiary defects. First, four of Plaintiffs’

                    4   expert reports contain new opinions and analysis that go far beyond rebutting Google’s Opposition

                    5   to class certification and are thus improper. Second, Plaintiffs’ experts offer opinions they are not

                    6   qualified to give and that are, at times, simply attorney argument or legal conclusions. Third,

                    7   Plaintiffs extensively mischaracterize deposition testimony, and pursuant to Federal Rule of

                    8   Evidence 106, the Court should consider the additional transcript excerpts in the concurrently-filed

                    9   Declaration of Aarti Reddy (“Reddy Declaration”) for necessary context.

                   10     I.   Expert Testimony Outside the Proper Scope of Rebuttal

                   11          “[A]n expert witness’s opening report must contain ‘a complete statement of all opinions

                   12   the witness will express and the basis and reasons for them’ together with ‘the facts or data

                   13   considered by the witness in forming them’ and ‘any exhibits that will be used to summarize or

                   14   support them.’” In re High-Tech Emp. Antitrust Litig., 2014 WL 1351040, at *3 (N.D. Cal. Apr. 4,

                   15   2014) (quoting Fed. R. Civ. P. 26(a)(2)(B)(i)–(iii)). “Rebuttal disclosures of expert testimony are

                   16   ‘intended solely to contradict or rebut evidence on the same subject matter identified by another

                   17   party’ in its expert disclosures.” Id. (quoting Fed. R. Civ. P. 26(a)(2)(D)(ii)). “Plaintiffs [should]

                   18   not be allowed to ‘sandbag’ Defendants with new analysis that should have been included” in an

                   19   original report. Id. at 12. Further, “[r]ebuttal testimony cannot be used to advance new arguments

                   20   or new evidence.” Huawei Techs., Co. Ltd v. Samsung Elecs. Co., Ltd., 340 F. Supp. 3d 934, 995

                   21   (N.D. Cal. 2018) (citation omitted). “Using a rebuttal report to provide evidence that could have

                   22   been provided in the original report is precisely what is forbidden by [Rule 26].” Id. Several aspects

                   23   of Plaintiffs’ expert reports exceed this proper scope of rebuttal.

                   24          Wilson Report. Paragraphs 54-62 of Dr. Wilson’s reply report describe a new

                   25   “fingerprinting” analysis involving a new dataset and constitutes improper rebuttal evidence. ECF

                   26   No. 616-6 (“Wilson Reply”). Notably, Dr. Wilson states that this analysis was conducted separately

                   27   from and “after addressing Dr. Striegel’s various analytical and methodological failures,”

                   28   effectively conceding the analysis is not a direct rebuttal to Dr. Striegel’s opinions. Wilson Reply
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                    1   ¶ 54. Moreover, this new analysis involves a New York Times dataset that Dr. Wilson did not

                    2   address in his opening report and that Dr. Striegel therefore did not analyze. See ECF No. 546-4 at

                    3   15 n.14 (Wilson opening report referring only to a different New York Times dataset). Dr. Wilson’s

                    4   inclusion of this new analysis based on a new dataset in his rebuttal report is improper reply

                    5   evidence. See AboveGEM, Inc. v. Organo Gold Mgmt., Ltd., 2020 WL 1531322, at *4 (N.D. Cal.

                    6   Mar. 31, 2020) (striking supplemental declaration filed with reply brief that “contain[ed] new

                    7   evidence” and “new information” in response to party’s Rule 7-3(d) objection).

                    8          Zeithammer Report. The Court should strike paragraphs 42 and 59-75 of Dr. Zeithammer’s

                    9   reply report, in which he advances a new methodology to account for how much internal bidders

                   10   would submit in the RTB auction if external bidders reduce their bids. ECF No. 616-7

                   11   (“Zeithammer Reply”). Dr. Zeithammer’s opening report wholly fails to account for the interactions

                   12   of internal bidders in the RTB auction, as he conceded at deposition. See ECF No. 585-19 at 86:3-

                   13   15. Dr. Zeithammer cannot now cure this omission by belatedly offering an entirely new analysis

                   14   of how internal bidders may bid. The federal rules do not “create a loophole through which a party

                   15   who submits partial expert witness disclosures . . . can add to them to her advantage after the court’s

                   16   deadline for doing so has passed.” Chinitz v. Intero Real Estate Servs., 2020 U.S. Dist. LEXIS

                   17   247921, at *9 (N.D. Cal. July 22, 2020). Likewise, Dr. Zeithammer’s 40-page critique of Prof.

                   18   Hanssens’s survey report amounts to improper rebuttal, as Dr. Zeithammer never opined on

                   19   remotely similar issues in his opening report, which addressed only damages issues. See Oracle

                   20   Am., Inc. v. Google Inc., 2011 WL 5572835, at *4 (N.D. Cal. Nov. 15, 2011) (holding that “an

                   21   expert who offered no opening report on a given issue” could not “then attack the opposition reports

                   22   served on that issue”).

                   23          Richards Report. The Court should strike the entirety of Professor Richards’s reply

                   24   opinions regarding Dr. Hanssens’s survey methodology for the same reason. ECF No. 616-9

                   25   (“Richards Reply”). Like Dr. Zeithammer, Professor Richards purports to cast doubt on Dr.

                   26   Hanssens’s survey methodology, but never opined on similar issues in his opening report, and even

                   27   disclaimed expertise on survey methodology in his deposition. See id; see also infra at 4-5.

                   28          Regan Report. The Court should likewise strike paragraphs 19-22 of the Regan reply report,
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                    1   in which Mr. Regan relies on new internal Google documents and deposition testimony to argue

                    2   that Google can determine the proportion of RTB revenue attributable to Google account-holders.

                    3   ECF No. 616-8 (“Regan Reply”). Not only is this “analysis” lawyer-crafted argument, Mr. Regan’s

                    4   belated reliance on it improperly deprives Google of the opportunity to respond. Rojas v. Bosch

                    5   Solar Energy Corp., 2021 U.S. Dist. LEXIS 226338, at *3 (N.D. Cal. Nov. 23, 2021) (excluding

                    6   reply declaration that cited “new factual matter on damages”).

                    7    II.   Improper Opinion Testimony in Expert Reports

                    8          In multiple reports submitted with their Reply, Plaintiffs’ experts opine on matters beyond

                    9   their asserted expertise, frequently veering into attorney argument or legal opinions in ways that

                   10   provide a further independent basis to strike portions of their opinions. See, e.g., Fujifilm Corp. v.

                   11   Motorola Mobility LLC, 2015 WL 757575, at *27 (N.D. Cal. Feb. 20, 2015) (striking “observations

                   12   and inferences that [factfinders] are perfectly capable of making for themselves without the

                   13   assistance of [an expert’s] technical expertise.”); MediaTek inc. v. Freescale Semiconductor, Inc.,

                   14   2014 WL 971765, at *1 (N.D. Cal. Mar. 5, 2014) (“Nor may an expert opine on questions which

                   15   are matters of law for the court.”).

                   16          Zeithammer Report. Dr. Zeithammer’s report is littered with speculative inferences and

                   17   attorney argument disguised as expert testimony. First, Dr. Zeithammer opines that “internal

                   18   bidders likely share at least some user data with third parties,” but he is not competent to do so.

                   19   Zeithammer Reply at ¶¶ 48-57. Dr. Zeithammer concedes he is “not a technical expert” and “do

                   20   not know for sure whether or not third-party advertisers . . . receive user data at issue.” Id. ¶¶ 51,

                   21   53. His opinion is based only on his “understanding of how at least some types of advertising work,”

                   22   and he relies exclusively on lay inferences from record evidence. Id. ¶ 51. Second, Dr. Zeithammer

                   23   also impermissibly opines that based on a review of Google emails, he “believe[s] Google has

                   24   conducted the relevant experiments” but failed to produce them, and “suspects . . . the details about

                   25   the effect on overall Google RTB revenue were simply not produced yet.” Id. ¶¶ 78-84; see also id.

                   26   ¶¶ 93 (asserting “that [Google expert] Deal has some additional information about these

                   27   experiments – information that was not produced”), ¶ 108 (same). Third, the Court should likewise

                   28   strike Dr. Zeithammer’s unfounded observation that Google would earn more revenue if user data
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                    1   were held back only from third parties. Id. ¶¶ 102-105. Dr. Zeithammer cites no evidence for this

                    2   speculation, does nothing to rebut the data cited in the Deal report, and merely posits facially absurd

                    3   characterizations including that Google must be “running some sort of charity for external third

                    4   party bidders” or “its management is so incompetent that to fails to maximize profits[.]” Id. ¶ 104.

                    5   All of this testimony amounts to little more than unfounded speculation, does not draw on any

                    6   specialized knowledge, and is of no use to the Court.

                    7          Regan Report. Aspects of Mr. Regan’s report should also be stricken because they are

                    8   merely a vehicle for Plaintiffs’ discovery grievances. Specifically, he argues that “[i]f Google

                    9   wished to produce more finely grained evidence, or Mr. Deal identified a need to refine Google’s

                   10   data, either Google or Mr. Deal could have done so,” and that deposition testimony indicates

                   11   Google has not produced certain data in its possession. Regan Reply ¶¶ 17-22. These opinions are

                   12   entirely unscientific and rest only on “observations and inferences” the Court can draw for itself.

                   13   Fujifilm, 2015 WL 757575, at *27.

                   14          Richards Report. Professor Richards claims for the first time on reply that he is an expert

                   15   qualified to critique the design of a consumer survey at a granular level, including invoking

                   16   statistical and methodological concepts like “selection bias,” question design, and back-end

                   17   analysis. Richard Reply ¶ 43. He is not. As Prof. Richards put it, “as relevant to this case, I am a

                   18   trained historian,” not a survey researcher. Reddy Decl. Ex. 4 (Richards Depo Tr.) at 41:2–3. He

                   19   similarly conceded that he was “not trained at an expert level in the conduction of – of large

                   20   quantitative models and consumer surveys,” id. at 50:16–20 (emphasis added), has never conducted

                   21   a survey assessing the privacy expectations of individuals, id. at 49:9–12, and his only familiarity

                   22   with such tools are based on a “workshop in empirical methods some years ago,” id. at 49:9–14. In

                   23   the face of this unambiguous testimony, Professor Richards now asserts that he has the requisite

                   24   credentials because he reviewed “body of empirical work” of a fellow academic as part of a tenure

                   25   review process. Richard Reply ¶ 43. Occasionally reading about surveys does not qualify Professor

                   26   Richards as a survey expert under Rule 702, and the Court should strike all his opinions as to Dr.

                   27   Hanssens’ methodology. Professor Richards also opines about the sufficiency of Google’s evidence

                   28   on consent—an obvious legal conclusion that the Court should disregard. Id. ¶ 77 (“[T]here is no
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                    1   evidence from which a trier of fact could conclude that Google in fact discloses the Google RTB

                    2   system, or the sharing of account holder personal information to hundreds of entities outside of

                    3   Google through the Google RTB system, to its account holders.”).

                    4   III.   Misleading and Incomplete Citations to Deposition Testimony

                    5          Plaintiffs’ reply papers repeatedly cherry-pick transcript excerpts, assert that witnesses said

                    6   things they did not, and ascribe to Google testimony outside its corporate deponent’s designated

                    7   Rule 30(b)(6) topics. First, Google asks the Court to consider under Federal Rule of Evidence 106

                    8   the deposition testimony appended to the Reddy Declaration, which provides critical context. For

                    9   example, Plaintiffs claim that Google “admits that it does not disclose what it uses, shares and sells

                   10   about Google account holders in RTB auctions anywhere in [its] materials.” Reply at 3. For this

                   11   assertion, they cite Google employee Suneeti Vakharia’s statement that “these disclosures do not

                   12   communicate the sale of any user’s information.” Id. (citing Vakharia Depo Tr. at 275:14-15). Yet

                   13   Ms. Vakharia was clear in saying that “[w]e do not disclose that because we do not do it,” critical

                   14   context that makes it plain she was not “admitting” to anything. Reddy Decl. Ex. 2 at 99:8-100:19

                   15   (emphasis added); see also, e.g., id. at 255:16 - 273:22 (Vakharia’s testimony describing disclosure

                   16   of data sharing at issue in various sources, given immediately prior to her purported admission that

                   17   Google does not disclose the “sale” of information). There are similar omissions in Plaintiffs’

                   18   excerpts of the depositions of Prof. Richards and Google employee Glenn Berntson. Second,

                   19   Google designated 30(b)(6) witnesses on a narrow set of topics, and Plaintiffs’ counsel at times

                   20   explicitly limited examination outside those topics to the deponent’s personal capacity.

                   21   Nevertheless, Plaintiffs improperly ascribe personal testimony to Google. See, e.g., Reply at 9

                   22   (citing Vakharia’s personal familiarity with the concept of survey bias as “Google testimony that

                   23   consumer surveys do not reflect the real-world”); see also Reddy Decl. Ex. 1. Google moves to

                   24   strike the following excerpts of Ms. Vakharia’s deposition transcript on this ground: 49:15-18;

                   25   62:18-63:7; 99:8-100:19; 129:17-131:12; 158:8-159:2; 205:13-206:10; 274:22-275:8; 275:10-15;

                   26   276:10-18, 277:1-10; 278:7-17; 294:6-18. Google also moves to strike Plaintiffs’ attribution to

                   27   Google of Dr. Berntson’s testimony regarding Google’s data production from a certain log, which

                   28   was not a 30(b)(6) topic. See ECF No. 616-5 ¶ 102(g) (citing Berntson Depo. Tr. at 212:7-214:18).
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                    1   Dated: December 6, 2023                      COOLEY LLP

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                    3                                                By: /s/ Whitty Somvichian
                                                                         Whitty Somvichian
                    4
                                                                     Attorney for Defendant
                    5                                                GOOGLE LLC
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